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            EXHIBIT 3
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+   Milestone XProtect Smart Client 2020 R2      -   Player Exported Project.scp                                                                                                                         8/30/2022 25922 PM       -        1
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